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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 HENRY Z. CARBAJAL III
   CHRISTOPHER D. BAKER
 3 PATRICK R. DELAHUNTY
   Assistant United States Attorneys
 4 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 5 Telephone: (559) 559-4000
   Facsimile: (559) 559-4099
 6

 7 Attorneys for the
    United States of America
 8

 9                                IN THE UNITED STATES DISTRICT COURT
10                               FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                            CASE NO. 1:15-CR-00045-LJO-SKO
13               Plaintiff,                               APPLICATION TO MODIFY
                                                          SUPERSEDING INDICTMENT AND
14      v.                                                DISMISSAL OF SUPERSEDING
                                                          INDICTMENT AS TO DEFENDANT
15   PHUL SINGH,                                          PHUL SINGH
16               Defendant.                               DATE: TBA
                                                          TIME: TBA
17                                                        COURTROOM: FOUR
18

19

20
                         APPLICATION TO DISMISS SUPERSEDING INDICTMENT
21

22
             Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of
23
     America, by and through Phillip A. Talbert, the Acting United States Attorney for the Eastern
24
     District of California, and Assistant United States Attorneys Henry Z. Carbajal III, Christopher
25
     D. Baker, and Patrick R. Delahunty, hereby seeks leave of court to file a dismissal without
26
     prejudice and in the interest of justice the Superseding Indictment against, and only against, Phul
27

28

29      Application to Dismiss                        1
30
            Case 1:15-cr-00045-LJO-BAM Document 128 Filed 06/01/16 Page 2 of 2


 1 Singh and Counts One, Two, Eleven, and Twelve as to, and only as to, Phul Singh, in Case No.

 2 15-cr-00045 LJO.

 3 Dated: June 1, 2016                                   PHILLIP A. TALBERT
                                                         Acting United States Attorney
 4
                                                 By:  /s/ Henry Z. Carbajal III
 5                                                   HENRY Z. CARBAJAL III
 6                                                   CHRISTOPHER D. BAKER
                                                     PATRICK R. DELAHUNTY
 7                                                   Assistant U.S. Attorneys
                                 DISMISSAL OF SUPERSEDING INDICTMENT
 8

 9
             By leave of court, and pursuant Federal Rule of Criminal Procedure 48(a), the Acting
10
     United States Attorney dismisses without prejudice the Superseding Indictment in this matter
11
     against, and only against, Phul Singh and Counts One, Two, Eleven, and Twelve as to, and only
12
     to, Phul Singh, in Case No. 15-cr-00045 LJO.
13

14 Dated: June 1, 2016                                   PHILLIP A. TALBERT
                                                         Acting United States Attorney
15

16                                               By:     /s/ Henry Z. Carbajal III
                                                         HENRY Z. CARBAJAL III
17                                                       CHRISTOPHER D. BAKER
                                                         PATRICK R. DELAHUNTY
18                                                       Assistant U.S. Attorneys
19
                                                 ORDER
20

21           IT IS SO ORDERED, that upon application of the Acting United States Attorney and in
22 the interest of justice, the Acting United States Attorney dismisses without prejudice the

23 Superseding Indictment in this matter against, and only against, Phul Singh and Counts One,

24 Two, Eleven, and Twelve as to, and only as to, Phul Singh, in Case No. 15-cr-00045 LJO.

25 IT IS SO ORDERED.

26
        Dated:       June 1, 2016                         /s/ Lawrence J. O’Neill _____
27                                               UNITED STATES CHIEF DISTRICT JUDGE

28

29      Application to Dismiss                      2
30
